Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 1 of 8




       Exhibit N
       Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 2 of 8




Larry D Harmon
All transfers              14000.00000
All deposits SUM           0.00000
Bank Deposits              0.00
Astropay Deposits          0.00
Vogogo Echeck Deposits     0.00
All withdrawals SUM        14000.00
Bank withdrawals           14000.00
Intercash withdrawals      0.00
XRP purchases made         0
BTC deposits SUM           35.35069596
                               1.                          (Created: Jun. 4. 2013)
                               2.                           Created: Feb. 15.
Deposit addresses
                                 3.                        (Created: Feb. 20.


BTC withdrawals SUM        0.25000000
                           BTC:

BTC withdrawal addresses         1.                         (0.25000000)




CIP Missing Information    YES
CIP Missing Information
                           Phone number.
type
Verified                   YES
Customer ID                43045_deleted_deleted
Deposit reference          51043045468
E-mail address
First and last name        Larry D Harmon
Company                    None
Member of                  None
Company Type               None
Address
Postal code and city
        Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 3 of 8




Country of residence        United States of America
Nationality                 United States of America
State                       Ohio
IBAN
BIC
Tax ID
SSN
Date of birth
(day.month.year)
Document ID                 RW877311
Expiry date                 April 25, 2016
Account value               $0.00
USD balance                 $0.00
EUR balance                 0.00 EUR
BTC balance                 0.00000000 BTC
Date joined                 June 4, 2013, 2:44 p.m.
Last login                  Feb. 24, 2016, 7:34 a.m.
Ripple destination tag      88868706
                                1.                          Created: Jun. 4. 2013)
                                2.                          Created: Feb. 15.
Deposit addresses
                                3.                           Created: Feb. 20.


Bank deposits made          $0.00
Bank withdrawals made       $14,000.00
All bank transfers made     $14,000.00
Intercash withdrawals
                            $0.00
made
Vogogo deposits made        $0.00
Astropay deposits made      $0.00
BTC deposits made           35.35069596 BTC
BTC withdrawals made        0.25000000 BTC
XRP purchases made          0$

Support tickets
   1. 106394

                         (592503)
   Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 4 of 8




   Feb. 23, 2016, 8:33 a.m.

   None

   "Dear Larry, we have received your withdrawal request and instructed our payment
   department to further process it. You will receive an e-mail notification as soon as the funds
   are sent to the designated account. However, as our compliance department requires some
   additional due-diligence information, we will have to kindly ask you to help us better
   understand the nature of your relationship with             In order to do so, we require that an
   additional KYC (Know Your Customer) procedure is completed before are able to further
   process your future transfers. We kindly ask you to answer the following KYC questionnaire: 1.
   How did you learn about Bitcoin? 2. What is the purpose of trading on              Please
   describe in as much detail as possible how you use your trading account. 3. What is the origin
   of the bitcoins deposited to your           account? Please provide supporting documentation
   which confirms how bitcoins have been acquired. 4. What are your future plans and activities
   planned on our exchange? 5. Do you plan more withdrawals in the future? 6. Which bank do
   you indent to use? Please provide the complete address and SWIFT code. 7. Estimated amount
   that you would be depositing/withdrawing to/from your               account per month (in USD
   and BTC)? If you have any questions, please feel free to ask. Looking forward to your reply. Best
   regards,

2. 106394

   Larry D Harmon (43045_deleted_deleted)

   Feb. 24, 2016, 7:47 a.m.



   "1. How did you learn about Bitcoin? I learned about it a couple years ago and have been trying
   to create useful websites that use it. 2. What is the purpose of trading on            ? Please
   describe in as much detail as possible how you use your trading account. I use it to cash out
   profit from my bitcoin businesses. Sometimes I also try to make money from the fluctuation of
   prices in bitcoin. 3. What is the origin of the bitcoins deposited to your           account?
   Please provide supporting documentation which confirms how bitcoins have been acquired. I
   have had many bitcoins for years now. My recent deposit came from the profits of my bitcoin
   mixer. https://coinninja.io It charges a variable fee to mix a users bitcoins with other users'
   bitcoins. It protect users privacy by getting rid of blockchain taint. I am copying the business
   model of bitmixer.io. They have been very successful with their mixer so I wanted to try it out. I
   only launched it a couple moths ago but it is growing steadily and made me 10k+ USD worth of
   Bitcoins last month. You are welcome to try it out . It is very simple to use. You just enter your
   destination bitcoin address and fill out some options such as , fee, delay and additional
   destination bitcoin addresses. After that a "sword" is created and it gives you a bitcoin address
   to send bitcoins to. In a few minutes you will have different bitcoins sent to your destination
   address/es . You can delete the records off our server so it is like the transactions never
   existed. 4. What are your future plans and activities planned on our exchange? I would like to
   keep trading and cashing out bitcoins through your exchange. 5. Do you plan more withdrawals
        Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 5 of 8




        in the future? Yes. 6. Which bank do you indent to use? Please provide the complete address
        and SWIFT code. HARMON WEB INNOVATIONS INC

                               Estimated amount that you would be depositing/withdrawing to/from
       your            account per month (in USD and BTC)? I hope to fro my business to grow. right
       now I would like to cash out my monthly profits of around 10k USD a month. In the future I am
       hoping it will grow to be even more than that. That is why I cashed so much out this month. I
       am hiring new programmers and designers to give the site a make over. Thanks, Larry Harmon"
Representatives
    •


IP report
    •
    •
    •
    •
    •
    •


Volume report
   • 2013 June $0.00
   • 2013 July $0.00
   • 2013 August $0.00
   • 2013 September $0.00
   • 2013 October $0.00
   • 2013 November $0.00
   • 2013 December $0.00
   • 2014 January $0.00
   • 2014 February $0.00
   • 2014 March $0.00
   • 2014 April $0.00
   • 2014 May $0.00
   • 2014 June $0.00
   • 2014 July $0.00
   • 2014 August $0.00
   • 2014 September $0.00
   • 2014 October $0.00
   • 2014 November $0.00
   • 2014 December $0.00
   • 2015 January $0.00
   • 2015 February $0.00
   • 2015 March $0.00
   • 2015 April $0.00
   • 2015 May $0.00
   • 2015 June $0.00
   • 2015 July $0.00
       Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 6 of 8




   •   2015 August $0.00
   •   2015 September $0.00
   •   2015 October $0.00
   •   2015 November $0.00
   •   2015 December $0.00
   •   2016 January $0.00
   •   2016 February $14,949.47
   •   2016 March $0.00
   •   2016 April $0.00
   •   2016 May $0.00
   •   2016 June $0.00
   •   2016 July $0.00
   •   2016 August $0.00
   •   2016 September $0.00
   •   2016 October $0.00
   •   2016 November $0.00
   •   2016 December $0.00
   •   2017 January $0.00
   •   2017 February $0.00
   •   2017 March $0.00
   •   2017 April $0.00
   •   2017 May $0.00
   •   2017 June $0.00
   •   2017 July $0.00
   •   2017 August $0.00
   •   2017 September $0.00
   •   2017 October $0.00
   •   2017 November $0.00
   •   2017 December $0.00
   •   2018 January $0.00
   •   2018 February $0.00
   •   2018 March $0.00
   •   2018 April $0.00
   •   2018 May $0.00

Bank transactions
      Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 7 of 8




Withdrawals
Case 1:19-cr-00395-BAH Document 16-14 Filed 03/09/20 Page 8 of 8
